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                           IN THE UNITED STATES DISTRICT COURT

                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                 )
                                          )
                  Plaintiff,              )
                                          )                   Criminal Action
      v.                                  )
                                          )                   No. 03-40054-01-SAC
MOLLY MEIER,                              )
                                          )
                  Defendant.              )
__________________________________________)

                            FINAL ORDER OF FORFEITURE
                      AND IMPOSITION OF FORFEITURE JUDGMENT

        WHEREAS, on March 30, 2004, the Defendant Molly Meier, entered into a Plea Agreement with

the United States in which the Defendant plead guilty to a forfeiture count which provided that the

Defendant obtained $2,679,847.00 in proceeds from the offense alleged in Count One of the Indictment

to which the Defendant also plead guilty;

        WHEREAS, the United States has filed a Motion for Entry of Final Order of Forfeiture which

seeks the imposition of a personal forfeiture money judgment against the Defendant in the amount of

$2,679,847.00; and


        WHEREAS, Rule 32.2(c)(1) provides that "no ancillary proceeding is required to the extent that

the forfeiture consists of a money judgment;"


        IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the Defendant shall forfeit

to the United States the sum of $2,679,847.00 pursuant to Title 21, United States Code, §853(a)(1).
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        IT IS FURTHER ORDERED that the United States District Court shall retain jurisdiction in the

case for the purpose of enforcing this Order.

        IT IS FURTHER ORDERED that pursuant to Rule 32.2(b)(3), this Order of Forfeiture shall

become final as to the defendant at the time of sentencing, and shall be made part of the sentence and

included in the judgment; and


                SO ORDERED this 16th day of June, 2005.




                                                s/ Sam A. Crow
                                                HONORABLE SAM A. CROW
                                                UNITED STATES DISTRICT JUDGE




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